Case 1:15-cr-00040-JAW Document 353 Filed 01/11/16 Page 1 of 4        PageID #: 1150




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
             v.                        )     1:15-cr-00040-JAW-3
                                       )
JERMAINE MITCHELL, a/k/a               )
MELO a/k/a MB                          )


           ORDER AFFIRMING THE RECOMMENDED DECISION
                    OF THE MAGISTRATE JUDGE

      The Court affirms the Magistrate Judge’s recommended decision that law

enforcement initial questioning of the defendant at a public bus stop did not

constitute a seizure and that once the defendant admitted he possessed illegal drugs,

the officer had probable cause to arrest the defendant and to perform a search

incident to arrest.

I.    BACKGROUND

      On February 12, 2015, a federal grand jury indicted Jermaine Mitchell,

alleging that he participated in a conspiracy to distribute 280 grams or more of

cocaine base, an alleged violation of 21 U.S.C. § 841(a)(1). Indictment (ECF No. 3).

On April 6, 2015, Mr. Mitchell filed a motion to suppress evidence and an amended

motion to suppress evidence. Mot. to Suppress Evid. (ECF No. 167); Corrected Mot.

to Suppress Evid. (ECF No. 168). The Government responded on May 22, 2015.

Gov’t’s Obj. to Def.’s Mot. to Suppress (ECF No. 197). On June 25, 2015, Mr. Mitchell

filed an amended motion to suppress evidence. Revised Mot. to Suppress Evid. (ECF
Case 1:15-cr-00040-JAW Document 353 Filed 01/11/16 Page 2 of 4          PageID #: 1151




No. 224) (Def.’s Mot.). The Government responded on July 16, 2015. Gov’t’s Obj. to

Def.’s Revised Mot. to Suppress (ECF No. 235) (Gov’t’s Opp’n).

       The Magistrate Judge held a suppression hearing on September 3, 2015. Min.

Entry (ECF No. 271).       On October 6, 2015, the Magistrate Judge issued a

recommended decision in which he recommended that the motion to suppress be

denied. Recommended Decision on Mot. to Suppress Evid. (ECF No. 224) (ECF No.

307). Mr. Mitchell filed an objection on October 16, 2015. Obj. to Recommended

Decision of the Magistrate Judge (ECF No. 313) (Def.’s Obj.). A transcript of the

suppression hearing was filed on November 18, 2015. Tr. of Proceedings (ECF No.

324) (Tr.).

       In his motion, Mr. Mitchell sought to suppress evidence that law enforcement

obtained as a result of what Mr. Mitchell claimed was an illegal detention and illegal

warrantless search at the Greyhound Bus Station in Portland, Maine on August 29,

2013. Def.’s Mot. at 1-5. At the suppression hearing of September 3, 2015, Maine

State Trooper Scott Quintero testified. Tr. 4-48. In the Recommended Decision, the

Magistrate Judge made twenty factual findings.        Recommended Decision at 1-3.

Based on those factual findings, the Magistrate Judge concluded that Trooper

Quintero’s initial stop of Mr. Mitchell was not a seizure under Terry v. Ohio, 392 U.S.

1, 9 (1968). Recommended Decision at 4-5.

II.    FACTUAL FINDINGS

       During the initial encounter at the Greyhound Bus Terminal on August 29,

2013, when questioned by Trooper Quintero, Mr. Mitchell voluntarily informed



                                          2
Case 1:15-cr-00040-JAW Document 353 Filed 01/11/16 Page 3 of 4          PageID #: 1152




Trooper Quintero that he might have “a little marijuana,” and he consented to a

search by a canine, who signaled the presence of drugs. Id. at 2. After the dog alerted

to the presence of drugs, Trooper Quintero asked Mr. Mitchell if he would be more

comfortable moving to the side of the terminal. Id. at 3. Mr. Mitchell said that he

would, and he and Trooper Quintero walked to the side of the building. Id. At the

side of the building, Mr. Mitchell told Trooper Quintero that he might have something

more on him and gestured with his head in the direction of his right leg. Id.

       When Trooper Quintero asked Mr. Mitchell where the marijuana was, Mr.

Mitchell told him that it was in the pocket of his pants. Id. Trooper Quintero asked

Mr. Mitchell whether he could get the drugs, and Mr. Mitchell told him that he could.

Id. Trooper Quintero reached into Mr. Mitchell’s pocket and found both marijuana

and a substance that appeared to be crack cocaine. Id.

       Trooper Quintero advised Mr. Mitchell that what he had found would likely

result in his arrest and told him that he should know that the possession of items at

the jail would be a felony. Id. Mr. Mitchell nodded to his right leg; Trooper Mitchell

asked him if he had crack cocaine there, and Mr. Mitchell replied that he did. Id.

When Trooper Quintero searched Mr. Mitchell, he found crack cocaine and multi-

colored pills. Id.

III.   DISCUSSION

       The Court has performed a de novo review of the Recommended Decision

pursuant to 28 U.S.C. § 636(b)(1)(B) and Federal Rule of Criminal Procedure 59(b)(3).

In his objection to the Recommended Decision, Mr. Mitchell issued only a general



                                          3
Case 1:15-cr-00040-JAW Document 353 Filed 01/11/16 Page 4 of 4           PageID #: 1153




objection and did not specifically object to any of the factual findings or legal

conclusions. See Def.’s Obj. The Court has compared the Magistrate Judge’s factual

findings to the contents of the transcript of the suppression hearing and expressly

adopts each of the factual findings made by the Magistrate Judge. Applying the law

to those findings, the Court concludes for the reasons set forth in the Recommended

Decision that Trooper Quintero’s initial stop of Mr. Mitchell at the Greyhound Bus

Terminal on August 29, 2013 did not constitute a seizure, that Mr. Mitchell consented

to Trooper Quintero’s search, and that once Trooper Quintero obtained evidence of

illegal drug possession, he was entitled to use that evidence to establish probable

cause to arrest Mr. Mitchell and for a further search incident to arrest of Mr. Mitchell

himself.

IV.   CONCLUSION

      Having performed a de novo review of the entire record and having made a de

novo determination of all matters adjudicated by the Magistrate Judge, the Court

AFFIRMS the Recommended Decision of the Magistrate Judge (ECF No. 307) and

DENIES Jermaine Mitchell’s Motion to Suppress (ECF No. 224).

      SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 UNITED STATES DISTRICT JUDGE

Dated this 11th day of January, 2016




                                           4
